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                                           ORDERED.


        Dated: November 27, 2018




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

IN RE:
CARL EDWARD MORELLI

                                             CASE NO. 6:18-bk-02644-KSJ
                                             CHAPTER 7
       Debtor(s).
                                             /

                          ORDER GRANTING MTGLQ INVESTORS, LP
                           MOTION FOR RELIEF FROM STAY [DE-38]

       This case came on for consideration upon the Motion for Relief from Automatic Stay [DE-38]
filed by Movant, MTGLQ INVESTORS, LP. The Motion has been served upon the parties of interest in
accordance with Local rule 2002-1, and the Chapter 7 Trustee’s Objection to the Motion having been
withdrawn and no other party of interest having filed an objection within the time permitted.
Therefore, the Court deems the Motion to be unopposed, it is
       ORDERED:
       1. The Motion for Relief from Stay is GRANTED.
       2. The automatic stay imposed by 11 U.S.C. § 362 is vacated as to the Movant’s enforcement of
its mortgage on or security interest in the following property:




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       ALL THAT CERTAIN LOT, PIECE OR PARCEL OF LAND, WITH THE BUILDINGS
       AND IMPROVEMENTS THEREON ERECTED, SITUATE, LYING AND BEING IN
       THE BOROUGH OF MADISON COUNTY OF MORRIS STATE OF NEW JERSEY:
       BEING KNOWN AND DESIGNATED AS UNIT C BUILDING 1 SITUATED IN 10
       ORCHARD STREET TOGETHER WITH AN AGGREGATE 11.57 UNDIVIDED
       PERCENTAGE INTEREST IN THE GENERAL COMMON ELEMENTS OF SAID
       CONDOMINIUM APPURTENANT TO THE AFORESAID UNITS IN ACCORDANCE
       WITH AND SUBJECT TO THE TERMS, LIMITATIONS, CONDITIONS,
       COVENANTS, RESTRICTIONS, EASEMENTS, AGREEMENTS AND PROVISIONS
       SET FORTH IN THE MASTER DEED AND BY-LAWS OF SAID CONDOMINIUM,
       DATED SEPTEMBER 09, 1993 AND RECORDED OCTOBER 13, 1993 IN THE
       MORRIS COUNTY CLERK`S OFFICE IN DEED BOOK 3857 PAGE 90 AND AS
       AMENDED IN DEED BOOK 3873 PAGE 263 AND DEED BOOK 3887 PAGE 239 AS
       THE SAME MAY NOW OR HEREAFTER BE LAWFULLY AMENDED.

       COMMONLY KNOWN AS: 9 ORCHARD STREET, UNIT - C BLDG 1 10 ORCHARD
       STREET, MADISON NEW JERSEY

       IN COMPLIANCE WITH CHAPTER 157, LAWS OF 1977, PREMISES HEREIN ARE
       BLOCK 4309 LOT 9.03C00-C ON THE TAX MAP OF THE ABOVE MUNICIPALITY.
       a/k/a 9 ORCHARD STREET, MADISON, NJ 07940

       3. This order is entered for the sole purpose of allowing the Movant to obtain in rem relief
against the property and Movant shall not seek in personam relief against the Debtor.
       4. The Movant made sufficient allegations and a request in the Motion for Relief from Stay to
waive the 14 day stay requirement of Bankruptcy Rule 4001(a)(3). No objection being raised, the
automatic stay shall be lifted immediately upon execution of this order.
       5. The mortgage indebtedness that shall run with this property shall be increased to include
$531.00 for attorney's fees and costs incurred in filing the Motion for Relief from the Automatic Stay.
       6. It is further ordered that that Movant may offer and provide the debtor with information in
regard to a potential Forbearance Agreement, Loan Modification, Refinance Agreement, or other Loan
Workout/Loss Mitigation Agreement, and may enter into such agreement with the debtor provided the
agreement complies with the Bankruptcy Code and all other applicable law. Movant, however, may not
enforce or threaten to enforce any personal liability against the debtor if the debtor’s personal liability
is discharged in this bankruptcy

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Attorney Alejandro Martinez-Maldonado, Esq. is directed to serve a copy of this order on interested
parties who are non-CM/ECF and to file a proof of service within three days of entry of this order.


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